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   9                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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   11 CESAR COTTO                                 CASE NO:
                                                  2:20−cv−05095−FMO−JEM
   12                 Plaintiff(s),
             v.                                  ORDER DISMISSING ACTION
   13
        BUDS AND ROSES COLLECTIVE, INC. , et al. WITHOUT PREJUDICE
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   16                Defendant(s).

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   19        Having been advised by counsel that the above−entitled action has been settled,
   20   IT IS ORDERED that the above−captioned action is hereby dismissed without costs
   21   and without prejudice to the right, upon good cause shown within 30 days from the
   22   filing date of this Order, to re−open the action if settlement is not consummated.
   23   The court retains full jurisdiction over this action and this Order shall not prejudice
   24   any party to this action.

   25       IT IS SO ORDERED.
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        DATED: October 19, 2020                      /s/ Fernando M. Olguin
   27                                               Fernando M. Olguin
                                                    United States District Judge
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